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7                                                                    The Honorable Marsha J. Pechman

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9
                                 UNITED STATES DISTRICT COURT
10                              WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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     JAIME PLASCENCIA and CECELIA      ) Case No. 2:17-CV-01505-MJP
12   PLASCENCIA,                       )
                                       ) ORDER GRANTING STIPULATED
13                   Plaintiff,        ) PROTECTIVE ORDER
                                       )
14              v.                     )
                                       )
15   COLLINS ASSET GROUP, LLC and      )
     DANIEL N. GORDON PC d/b/a GORDON, )
16   AYLWORTH & TAMI, P.C.,            )
                                       )
17                   Defendants.       )

18   1. PURPOSES AND LIMITATIONS
19          Discovery in this action is likely to involve production of confidential, proprietary, or
20   private information for which special protection may be warranted. Accordingly, the parties
21   hereby stipulate to and petition the court to enter the following Stipulated Protective Order. The
22   parties acknowledge that this agreement is consistent with LCR 26(c). It does not confer blanket
23   protection on all disclosures or responses to discovery, the protection it affords from public
24   disclosure and use extends only to the limited information or items that are entitled to
25   confidential treatment under the applicable legal principles, and it does not presumptively entitle
26   parties to file confidential information under seal.


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1    2. “CONFIDENTIAL” MATERIAL

2           “Confidential” material shall include, but is not limited to, the following documents and

3    tangible things produced or otherwise exchanged:

4                 •   Proprietary or confidential collection policies, procedures or protocols; and

5                 •   Documents disclosing the terms and conditions related to defendants’ purchase of

6                     plaintiffs’ debt.

7    3. SCOPE

8           The protections conferred by this agreement cover not only confidential material (as
9    defined above), but also (1) any information copied or extracted from confidential material; (2)
10   all copies, excerpts, summaries, or compilations of confidential material; and (3) any testimony,
11   conversations, or presentations by parties or their counsel that might reveal confidential material.
12          However, the protections conferred by this agreement do not cover information that is in
13   the public domain or becomes part of the public domain through trial or otherwise.
14   4. ACCESS TO AND USE OF CONFIDENTIAL MATERIAL

15          4.1       Basic Principles. A receiving party may use confidential material that is disclosed

16   or produced by another party or by a non-party in connection with this case only for prosecuting,

17   defending, or attempting to settle this litigation. Confidential material may be disclosed only to

18   the categories of persons and under the conditions described in this agreement. Confidential

19   material must be stored and maintained by a receiving party at a location and in a secure manner

20   that ensures that access is limited to the persons authorized under this agreement.

21          4.2       Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise

22   ordered by the court or permitted in writing by the designating party, a receiving party may

23   disclose any confidential material only to:

24                    (a)     the receiving party’s counsel of record in this action, as well as employees

25   of counsel to whom it is reasonably necessary to disclose the information for this litigation;

26                    (b)     the officers, directors, and employees (including in-house counsel) of the


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1    receiving party to whom disclosure is reasonably necessary for this litigation, unless the parties

2    agree that a particular document or material produced is for “Attorney’s Eyes Only” and is so

3    designated;

4                   (c)      experts and consultants to whom disclosure is reasonably necessary for

5    this litigation and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit

6    A);

7                   (d)      the court, court personnel, and court reporters and their staff;

8                   (e)      copy or imaging services retained by counsel to assist in the duplication of
9    confidential material, provided that counsel for the party retaining the copy or imaging service
10   instructs the service not to disclose any confidential material to third-parties and to immediately
11   return all originals and copies of any confidential material;
12                  (f)      during their depositions, witnesses in the action to whom disclosure is
13   reasonably necessary and who have signed the “Acknowledgment and Agreement to Be Bound”
14   (Exhibit A), unless otherwise agreed by the designating party or ordered by the court. Pages of
15   transcribed deposition testimony or exhibits to depositions that reveal confidential material must
16   be separately bound by the court reporter and may not be disclosed to anyone except as permitted
17   under this agreement;
18                  (g)      the author or recipient of a document containing the information or a

19   custodian or other person who otherwise possessed or knew the information.

20           4.3    Filing Confidential Material. Before filing confidential material or discussing or

21   referencing such material in court filings, the filing party shall confer with the designating party

22   to determine whether the designating party will remove the confidential designation, whether the

23   document can be redacted, or whether a motion to seal or stipulation and proposed order is

24   warranted. Local Civil Rule 5(g) sets forth the procedures that must be followed and the

25   standards that will be applied when a party seeks permission from the court to file material under

26   seal.


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1    5. DESIGNATING PROTECTED MATERIAL

2           5.1     Exercise of Restraint and Care in Designating Material for Protection. Each party

3    or non-party that designates information or items for protection under this agreement must take

4    care to limit any such designation to specific material that qualifies under the appropriate

5    standards. The designating party must designate for protection only those parts of material,

6    documents, items, or oral or written communications that qualify, so that other portions of the

7    material, documents, items, or communications for which protection is not warranted are not

8    swept unjustifiably within the ambit of this agreement.
9           Mass, indiscriminate, or routinized designations are prohibited. Designations that are

10   shown to be clearly unjustified or that have been made for an improper purpose (e.g., to

11   unnecessarily encumber or delay the case development process or to impose unnecessary

12   expenses and burdens on other parties) expose the designating party to sanctions.

13          If it comes to a designating party’s attention that information or items that it designated

14   for protection do not qualify for protection, the designating party must promptly notify all other

15   parties that it is withdrawing the mistaken designation.

16          5.2     Manner and Timing of Designations. Except as otherwise provided in this

17   agreement (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or

18   ordered, disclosure or discovery material that qualifies for protection under this agreement must

19   be clearly so designated before or when the material is disclosed or produced.

20                  (a)     Information in documentary form: (e.g., paper or electronic documents

21   and deposition exhibits, but excluding transcripts of depositions or other pretrial or trial

22   proceedings), the designating party must affix the word “CONFIDENTIAL” to each page that

23   contains confidential material. If only a portion or portions of the material on a page qualifies for

24   protection, the producing party also must clearly identify the protected portion(s) (e.g., by

25   making appropriate markings in the margins).

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1                    (b)     Testimony given in deposition or in other pretrial proceedings: the parties

2    and any participating non-parties must identify on the record, during the deposition or other

3    pretrial proceeding, all protected testimony, without prejudice to their right to so designate other

4    testimony after reviewing the transcript. Any party or non-party may, within fifteen days after

5    receiving the transcript of the deposition or other pretrial proceeding, designate portions of the

6    transcript, or exhibits thereto, as confidential. If a party or non-party desires to protect

7    confidential information at trial, the issue should be addressed during the pre-trial conference.

8                    (c)     Other tangible items: the producing party must affix in a prominent place
9    on the exterior of the container or containers in which the information or item is stored the word

10   “CONFIDENTIAL.” If only a portion or portions of the information or item warrant protection,

11   the producing party, to the extent practicable, shall identify the protected portion(s).

12           5.3     Inadvertent Failures to Designate. If timely corrected, an inadvertent failure to

13   designate qualified information or items does not, standing alone, waive the designating party’s

14   right to secure protection under this agreement for such material. Upon timely correction of a

15   designation, the receiving party must make reasonable efforts to ensure that the material is

16   treated in accordance with the provisions of this agreement.

17   6. CHALLENGING CONFIDENTIALITY DESIGNATIONS

18           6.1     Timing of Challenges. Any party or non-party may challenge a designation of

19   confidentiality at any time. Unless a prompt challenge to a designating party’s confidentiality

20   designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic

21   burdens, or a significant disruption or delay of the litigation, a party does not waive its right to

22   challenge a confidentiality designation by electing not to mount a challenge promptly after the

23   original designation is disclosed.

24           6.2     Meet and Confer. The parties must make every attempt to resolve any dispute

25   regarding confidential designations without court involvement. Any motion regarding

26   confidential designations or for a protective order must include a certification, in the motion or in

     a declaration or affidavit, that the movant has engaged in a good faith meet and confer
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1    conference with other affected parties in an effort to resolve the dispute without court action. The

2    certification must list the date, manner, and participants to the conference. A good faith effort to

3    confer requires a face-to-face meeting or a telephone conference.

4           6.3     Judicial Intervention. If the parties cannot resolve a challenge without court

5    intervention, the designating party may file and serve a motion to retain confidentiality under

6    Local Civil Rule 7 (and in compliance with Local Civil Rule 5(g), if applicable). The burden of

7    persuasion in any such motion shall be on the designating party. Frivolous challenges, and those

8    made for an improper purpose (e.g., to harass or impose unnecessary expenses and burdens on
9    other parties) may expose the challenging party to sanctions. All parties shall continue to
10   maintain the material in question as confidential until the court rules on the challenge.
11   7. PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER

12   LITIGATION

13          If a party is served with a subpoena or a court order issued in other litigation that compels

14   disclosure of any information or items designated in this action as “CONFIDENTIAL,” that

15   party must:

16                  (a)     promptly notify the designating party in writing and include a copy of the

17   subpoena or court order;

18                  (b)     promptly notify in writing the party who caused the subpoena or order to

19   issue in the other litigation that some or all of the material covered by the subpoena or order is

20   subject to this agreement. Such notification shall include a copy of this agreement; and

21                  (c)     cooperate with respect to all reasonable procedures sought to be pursued

22   by the designating party whose confidential material may be affected.

23   8. UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

24          If a receiving party learns that, by inadvertence or otherwise, it has disclosed confidential

25   material to any person or in any circumstance not authorized under this agreement, the receiving

26   party must immediately (a) notify in writing the designating party of the unauthorized


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1    Disclosures; (b) use its best efforts to retrieve all unauthorized copies of the protected material;

2    (c) inform the person or persons to whom unauthorized disclosures were made of all the terms of

3    this agreement; and (d) request that such person or persons execute the “Acknowledgment and

4    Agreement to Be Bound” that is attached hereto as Exhibit A.

5    9. INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED

6    MATERIAL

7           When a producing party gives notice to receiving parties that certain inadvertently

8    produced material is subject to a claim of privilege or other protection, the obligations of the

9    receiving parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). The parties

10   agree to the entry of a non-waiver order under Fed. R. Evid. 502(d) as set forth herein.

11   10. NON TERMINATION AND RETURN OF DOCUMENTS

12          Within sixty days after the termination of this action, including all appeals, each

13   receiving party must return or destroy all confidential material to the producing party, including

14   all copies, extracts and summaries thereof. Alternatively, the parties may agree upon appropriate

15   methods of destruction.

16          Notwithstanding this provision, counsel are entitled to retain one archival copy of all

17   documents filed with the court, trial, deposition, and hearing transcripts, correspondence,

18   deposition and trial exhibits, expert reports, attorney work product, and consultant and expert

19   work product, even if such materials contain confidential material.

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1           The confidentiality obligations imposed by this agreement shall remain in effect until a

2    designating party agrees otherwise in writing or a court orders otherwise.

3           IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.

4    HENRY & DEGRAAFF, PS                              KEATING JONES HUGHES, PC

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11   BARRAZA LAW, PLLC                                 LEWIS BRISBOIS BISGAARD & SMITH, LLP

12   s/ V. Omar Barraza                                s/ Kathleen A. Turner
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                                                       Of Attorneys for Defendant
18                                                     Collins Asset Group, LLC

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1    PURSUANT TO STIPULATION, IT IS SO ORDERED.

2           IT IS FURTHER ORDERED that pursuant to Fed. R. Evid. 502(d), the production of any

3    documents in this proceeding shall not, for the purposes of this proceeding or any other

4    proceeding in any other court, constitute a waiver by the producing party of any privilege

5    applicable to those documents, including the attorney-client privilege, attorney work-product

6    protection, or any other privilege or protection recognized by law.

7           DATED this 16th day of January, 2018.

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                                                          A
                                                          Marsha J. Pechman
11                                                        United States District Judge

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                                               EXHIBIT A
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2                   ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
3            I, ________________________________________________ [print or type full name],
4    of ________________________________________________________ [print or type full
5    address], declare under penalty of perjury that I have read in its entirety and understand the
6    Stipulated Protective Order that was issued by the United States District Court for the Western
7    District of Washington on [_______________, 2018] in the case of Jamie Plascencia and
8    Cecelia Plascencia v. Collins Asset Group, LLC and Daniel N. Gordon, PC dba Gordon
9    Aylworth & Tami, PC, U.S.D.C. for the Western District of Washington, Seattle Division,
10   Case No. 2:17-CV-01505-MJP. I agree to comply with and to be bound by all the terms of this
11   Stipulated Protective Order and I understand and acknowledge that failure to so comply could
12   expose me to sanctions and punishment in the nature of contempt. I solemnly promise that I will
13   not disclose in any manner any information or item that is subject to this Stipulated Protective
14   Order to any person or entity except in strict compliance with the provisions of this Order.
15           I further agree to submit to the jurisdiction of the United States District Court for the
16   Western District of Washington for the purpose of enforcing the terms of this Stipulated
17   Protective Order, even if such enforcement proceedings occur after termination of this action.
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19   Date:
20   City and State where sworn and signed:
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22           Printed name:                            .       .
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24           Signature:                               .       .
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